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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

UNITED STATES OF AMERICA                             §
                                                     §
V.                                                   §               CASE NO. 6:08cr51
                                                     §
KONO ADOMIN WILLIAMS                                 §

             ORDER ADOPTING THE REPORT AND RECOMMENDATION
                 OF THE UNITED STATES MAGISTRATE JUDGE


       By order, the undersigned referred this matter to the Honorable John D. Love, United States

Magistrate Judge, at Tyler, Texas, for administration of a guilty plea under Rules 11 and 32 of the

Federal Rules of Criminal Procedure. Judge Love conducted a hearing in the form and manner

prescribed by Federal Rule of Criminal Procedure 11 and the Honorable John D. Love issued his

Report and Recommendation of the United States Magistrate Judge [Clerk’s doc. #38]. The

Magistrate Judge recommended that the Court accept Defendant’s guilty plea and conditionally

accept his plea agreement. He further recommended that the undersigned finally adjudge Defendant

as guilty on Count Two of the Indictment filed against Defendant in this cause.

       The parties have not objected to the magistrate judge’s findings. The Court is of the opinion

that the Report and Recommendation should be accepted. It is accordingly ORDERED that the

Report and Recommendation [Clerk’s doc. #38] of the United States Magistrate Judge are

ADOPTED. Defendant’s guilty plea and the plea agreement are conditionally ACCEPTED by the

Court at this time.




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       It is further ORDERED that, in accordance with Defendant’s guilty plea and the magistrate

judge’s findings and recommendation, Defendant, Kono Adomin Williams, hereby adjudged as

GUILTY on Count Two of the charging Indictment, conditioned upon the Court’s final acceptance

of the guilty plea and plea agreement at sentencing.


        SIGNED this 16th day of September, 2008.




                                                         ____________________________________
                                                         MICHAEL H. SCHNEIDER
                                                         UNITED STATES DISTRICT JUDGE




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